Case 19-34054-sgj11     Doc 4257-2 Filed 06/20/25 Entered 06/20/25 23:00:44   Desc
                      Exhibit 2 - Rand Structure Chart Page 1 of 2



                                   EXHIBIT 2
             Case 19-34054-sgj11                    EXHIBIT
                                     Doc 4257-2 Filed          2
                                                         06/20/25                           Rand
                                                                    Entered 06/20/25 23:00:44    DescStructure Chart –
                                   Exhibit 2 - Rand Structure Chart Page 2 of 2             (effective as of 4/27/2023)
                       Charitable DAF Holdings Corp.
                              (Delaware corporation)


              Sole                         Sole                                   Sole
              Member                       Member                                 Member


                               Rand PE Fund
Rand Advisors, LLC                                                  Atlas IDF GP, LLC                     Crown Global
   (Delaware LLC)             Management, LLC                           (Delaware LLC)
                                   (Delaware LLC)                                                       Insurance Company
  Investment Adviser

                                                                                  GP                                 Limited
                                                                                                                     Partnership
                                                                                                                     Interest
    IMA
                                                                         Atlas IDF, LP
                                                                    (Delaware limited partnership)
                                           GP
                                                                    99% LP                                     Other Investors
                                                                                                1%

                                                Rand PE Fund I, L.P.
                                                (Delaware limited partnership)


                                                                Sole Member


                                            Beacon Mountain, LLC
                                                       (Delaware LLC)
                                                                                                     Wilmington Trust, N.A.
                                                                Sponsor and Sole Beneficiary


                                      Hunter Mountain Investment Trust
                                                  (Delaware statutory trust)                         Administrator
